Case 2:04-cr-20257-.]PI\/| Document 50 Filed 04/25/05 Page 1 of 3 Page|D 76

 

Hs.
IN THE UNITED sTATEs DISTRICT coURT ` 63
FoR THE wEsTERN DIsTRIcT oF TENNESSEE 95… ,\ `_
wEsTERN DIvIsIoN “"“ -F" 65 P;"; ,; d
‘ - OF m Mr.'.,;,»p;;§
uNITED sTATEs oF AMERICA

Plaintiff,

Criminal No. O`C¢- gyé._j/I?

(BO-Day Continuance)

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this ease should be
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The ease is currently set on the May, 2005,
criminal rotation calendar, but is now RESET for report at 2500
a.m. on Fridav, MaV 27, 2005, with trial to take place on the June,
2005 rotation calendar with the time excluded under the Speedy
Trial Act through June 17, 2005. Agreed in open court at report

date this 22nd day of April, 2005.

ThIs document entered on the docke£ Sheet inSo?tharwe fS~O

with ama 55 and/or 32(b) FcmrP on 62 “

Case 2:04-cr-20257-.]PI\/| Document 50 Filed 04/25/05 Page 2 of 3 Page|D 77

SO ORDERED this .'22“d day of April, 2005.

w m wl

JON PHIPPS MCCALLA

W///d UN ED STATES DISTRICT JUDGE

Aé/is¥anE>Un tedv St tes Attorney

/W%W

   

 

 

 

 

 

Counsel for Defendant(s)

   

UNITED sTATE DRISTIC COURT - WETERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 50 in
case 2:04-CR-20257 Was distributed by faX, mail, or direct printing on
Apri127, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

